Case 2:03-cv-02456-.]PI\/|-STA Document 154 Filed 08/03/05 Page 1 of 2 Page|D 112

lN THE UNlTEn sTATEs merch coURT FlLEo ev m c_,
FoR THE WESTERN DIsTRlcT oF TENNESSEE '
wEsTERN nlesloN 05 AUG -3 3. h 8
RoNALD M. BoWMAN, ) views M_ GOULD
) CLE§< U-§ lD=‘SW!’CT mr
Plaintiff, ) "D 9~“ €f‘.; :'-:-'%`i,-MJS
)
vs. ) No. 03-2456 Mi/An
)
sHELBY coUNTY, et al., )
)
Dei'endants. )

 

ORDER SETTING SHOW CAUSE HEARING

 

Before the Court is the Motion of certain Defendants for Sanctions Against Plaintiff for
failing to appear at a notified deposition filed on June 27, 2005. United States District Judge J on
P, McCalla referred this motion to the Magistrate Judge for a report and recommendation
Plaintiff was required to respond to the instant motion no later than July 19, 2005; however,
Plaintiff did not respond.

I’I` IS TI-IEREFORE ORDERED that a Show Cause Hearing shall be held before
United States Magistrate Judge S. Thomas Anderson on THURSDAY, AUGUST 18, 2005 at
10:30 A.M. in Courtroom M-3, 9th Floor, Federal Building, Memphis, Tennessee. Plaintiff shall

be required to show cause Why sanctions, including dismissal of this case, should not be granted.

IT IS SO ORDERED. 2 `
S. THOMA§ ANDERSON

UNITED STATES MAGISTRATE JUDGE

 

'»

Date: 57 2605

This document entered on the docket she t in§)mpliance
with Ru|e 58 and/or TQ(a) FF\CP on 8 'é"§ g /<5¢/

UNDITE` sTATE DISTRICT OURT - WESTERNDT"ISRIC OF TENNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 154 in
case 2:03-CV-02456 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listedl

 

 

Ronald M. Bowman
3375 WINBROOKS
1\/leniphis7 TN 38116

Stephen G. Sniith

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/leniphis7 TN 38103

.1 erry O. Potter

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/leniphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/leniphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

